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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION
   _________________________________________

   In Re: COOK MEDICAL, INC., IVC FILTERS
   MARKETING, SALES PRACTICES AND                                 Case No. 1:14-ml-2570-RLY-TAB
   PRODUCTS LIABILITY LITIGATION                                                    MDL No. 2570

   _________________________________________

   This Document Relates to 46 Category 6 and 7 Cases
   (Listed in Exhibit A To Original Motion, Dkt. 11923)
   _________________________________________

    COOK DEFENDANTS’ AGREED MOTION FOR EXTENSION OF TIME TO REPLY
             TO PLAINTIFFS’ RESPONSES TO COOK DEFENDANTS’
              OMNIBUS MOTION FOR SUMMARY JUDGMENT IN
                  46 MISCATEGORIZED NO INJURY CASES

          Defendants Cook Incorporated, Cook Medical LLC f/k/a Cook Medical Incorporated, and

   William Cook Europe ApS (collectively, “Cook Defendants”) respectfully move the Court for an

   extension of the deadline to file an omnibus reply to Plaintiffs’ individual responses in

   opposition to Cook Defendants’ Omnibus Motion for Summary Judgment in 46 Miscategorized

   No Injury Cases (Dkt. 11923). In support of this Motion, Cook Defendants state:

          1.      On October 1, 2019, Cook Defendants filed their Omnibus Motion for Summary

   Judgment in 46 Miscategorized No Injury Cases (Dkt. 11923).

          2.      Pursuant to Local Rule 56-1, the deadline for Plaintiffs to respond to Cook

   Defendants’ motion was October 29, 2019.

          3.      Seven plaintiffs filed responses by the October 29, 2019 deadline.

          4.      Pursuant to Local Rule 56-1, the deadline for Cook Defendants’ to reply to those

   seven plaintiffs is November 12, 2019.
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          5.      However, Cook Defendants agreed to extend the deadlines for three plaintiffs to

   respond, and those extensions expired on November 4, November 7, and November 8,

   respectively. Accordingly, Cook Defendants’ respective deadlines to reply to those plaintiffs are

   November 18, November 21, and November 22.

          6.      For the convenience of the parties and the Court, Cook Defendants would like to

   file an omnibus reply addressing all of the arguments raised by Plaintiffs in a single brief.

          7.      Because the deadlines for Cook Defendants to reply to Plaintiffs’ individual

   responses range from November 12, 2019 to November 22, 2019, it is not feasible for Cook

   Defendants to adequately address each plaintiff’s arguments in an omnibus reply by the November

   12, 2019 deadline.

          8.      Cook Defendants therefore request that the Court merge these staggered deadlines

   into a single deadline of November 18, 2019 for Cook Defendants to file an omnibus reply.

          9.      Cook Defendants have conferred with Plaintiff’s Steering Committee regarding this

   Motion, and Plaintiff’s Steering Committee has agreed to the proposed deadline.

          WHEREFORE, Cook Defendants respectfully request that the Court grant their Motion to

   extend the deadline for filing their omnibus reply to Plaintiffs’ responses in opposition to Cook

   Defendants’ Omnibus Motion for Summary Judgment in 46 Miscategorized No Injury Cases to

   November 18, 2019.



   Dated: November 12, 2019                      /s/ Andrea Roberts Pierson
                                                 Andrea Roberts Pierson, Co-Lead Counsel
                                                 Jessica Benson Cox
                                                 FAEGRE BAKER DANIELS LLP
                                                 300 North Meridian Street, Suite 2500
                                                 Indianapolis, Indiana 46204
                                                 Telephone: (317) 237-0300
                                                 Andrea.Pierson@FaegreBD.com
                                                 Jessica.Cox@FaegreBD.com
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                                                 James Stephen Bennett, Co-Lead Counsel
                                                 FAEGRE BAKER DANIELS LLP
                                                 110 West Berry Street, Suite 2400
                                                 Fort Wayne, Indiana 46802
                                                 Telephone: (260) 424-8000
                                                 Stephen.Bennett@FaegreBD.com
                                                 Attorneys for the Defendants Cook Incorporated,
                                                 Cook Medical LLC, and William Cook Europe ApS



                                    CERTIFICATE OF SERVICE

          I hereby certify that on November 12, 2019, a copy of the foregoing was filed

   electronically, and notice of the filing of this document will be sent to all parties by operation of

   the Court’s electronic filing system to CM/ECF participants registered to receive service in this

   matter. Parties may access this filing through the Court’s system.



                                                         /s/ Andrea Roberts Pierson
